                                                                                                             Case 2:19-cv-00885-PSG-GJS Document 11 Filed 02/25/19 Page 1 of 3 Page ID #:46


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                                                                                                         5
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                                                                                                         6 VERRAGIO, LTD.
                                                                                                         7
                                                                                                         8
                                                                                                         9                         UNITED STATES DISTRICT COURT
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                        11 VERRAGIO, LTD.                            ) Case No. 2:19-cv-00885-PSG-GJSx
                                                                                                                                                     )
                                                                                                        12                     Plaintiff,            ) PROOF OF SERVICE
                                                                                                                                                     )
                                                                                                        13            v.                             )
TUCKER ELLIS LLP




                                                                                                                                                     )
                                                                                                        14 KARIN APRAHAMIAN fka KARIN                )
                                                                                                           BABAPILAVIAN dba KARIN’S                  )
                                                                                                        15 COLLECTIONS,                              )
                                                                                                                                                     )
                                                                                                        16                     Defendant.            )
                                                                                                                                                     )
                                                                                                        17
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                                                                                                                                               PROOF OF SERVICE
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        Case 2:19-cv-00885-PSG-GJS Document 11 Filed 02/25/19 Page 2 of 3 Page ID #:47

                                                                                                                                                               POS-010
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                        FOR COURT USE ONLY
  TUCKER ELLIS LLP
- Howard A. Kroll, Esq. (SBN 100981)
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 E-MAIL ADDRESS {Optional):howard.krol l@tuckerel Iis.com
       ATTORNEY FOR (Name) Plaintiff VERRAGIO, LTD.

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF [USDC]
              STREET ADDRESS:

          MAILING ADDRESS:

         CITY AND ZIP CODE:

                BRANCH NAME:        CENTRAL DISTRICT
         PLAINTIFF/PETITIONER:             VERRAGIO, LTD.                                                           CASE NUMBER:


                                                                                                                            2: l 9-cv-885-PSG-GJSx
DEFENDANT/RESPONDENT:                      KARIN APRAHAMIAN, etc.
                                                                                                                   Ref. No. or File No.:

                                        PROOF OF SERVICE OF SUMMONS                                                                    1673127KQ
                                                   (Separate proof of service is required for each party served.)
1.      At the time of service I was at least 18 years of age and not a party to this action.
2.      I served copies of:
         a.      [{]     summons
         b.      [{]     complaint
         c.      D       Alternative Dispute Resolution (ADR) package
         d.      D       Civil Case Cover Sheet (served in complex cases only)
         e.      D       cross-complaint            Civil Cover Sheet; Certification and Notice oflnterested Parties; Corporate Disclosure Statement; Report on the
         f.      [Z]     other (specify documents): Filing or Determination of an Action or Appeal Regarding a Copyright; Notice of Assignment to United States
                                                          Judges; Notice to Parties of Court-Directed ADR Program; Standing Order Regarding Newly Assigned Cases
3.      a. Party served (specify name of party as shown on documents served):
               KARIN APRAHAMIAN fka KARIN BABAPILAVIAN dba KARIN'S COLLECTION

         b.    D       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                       under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):


4.       Address where the party was served:
         3220 Altura Avenue, Glendale, California 91214
5.       I served the party (check proper box)
         a.     [Z]     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                        receive service of process forthe party (1) on (date): 02/17/2019            (2) at (time): 11 :05 a.m.
         b.      D       by substituted service. On (date):                     at (time):            I left the documents listed in item 2 with or
                         in the presence of (name and title or relationship to person indicated in item 3):


                        (1)     D        (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                         of the person to be served. I informed him or her of the general nature of the papers.

                        (2)     D        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                         place of abode of the party. I informed him or her of the general nature of the papers.
                        (3)     D        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                         address of the person to be served, other than a United States Postal Service post office box. I informed
                                         him or her of the general nature of the papers.
                        (4)     D        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                         at the place where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents on
                                         (date):               from (city):                           or      D a declaration of mailing is attached.
                        (5)     D        I attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                                  Page 1of2

     Form Adopted for Mandatory Use                                                                                                          Code of Civil Procedure. § 417. 1O
       Judicial Council of California
                                                             PROOF OF SERVICE OF SUMMONS                                                           American LegalNet, Inc.
     POS-010 (Rev. January 1, 2007]                                                                                                                www. Farms Workflow. com
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        PLAINTIFF/PETITIONER:              VERRAGIO, LTD.                                                 CASE NUMBER:

                                                                                                                  2: I 9-cv-885-PSG-GJSx
 DEFENDANT/RESPONDENT:                     KARIN APRAHAMIAN, etc.

5.   c.       D          by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                         address shown in item 4, by first-class mail, postage prepaid,

                         ( 1) on (date).                                              (2) from (city):
                         (3)   D     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                     to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc.,§ 415 .30.)
                         (4)   D       to an address outside California with return receipt requested. (Code Civ. Proc.,§ 415.40.)

     d.      D           by other means (specify means of service and authorizing code section):




              D          Additional page describing service is attached.

6.   The "Notice to the Person Served" (on the summons) was completed as follows:
      a. [ { ] as an individual defendant.
        b.    D          as the person sued under the fictitious name of (specify):
      c.      D          as occupant.
        d. [ { ]         On behalf of (specify): KARIN APRAHAMIAN fka KARIN BABAPILAVIAN dba KARIN'S COLLECTION
                         under the following Code of Civil Procedure section:
                                   D     416.10 (corporation)                       D     415.95 (business organization , form unknown)
                                   D     416.20 (defunct corporation)                 D   416.60 (minor)
                                   D     416.30 Ooint stock company/association)      D   416.70 (ward orconservatee)
                                   D     416.40 (association or partnership)          D   416.90 (authorized person)
                                   D     416.50 (public entity)                       D   415.46 (occupant)
                                                                                      0   other: FRCP 4(e)(2)(A)
7.   Person who served papers
     a. Name:       Vartan Demirjyan, Ace Attorney Service, Inc.
     b. Address:      811 Wilshire Boulevard, Suite 900, Los Angeles, California 90017
     c.      Telephone number: (213) 623-3 979
     d. The fee for service was: $
     e. I am :
              (1)    D         not a registered California process server.
              (2)    D         exempt from registration under Business and Professions Code section 22350(b).
              (3)    [2]       a registered California process server:
                               (i) D       owner [ { ] employee       D    independent contractor.
                               (ii) Registration No.: 5576
                               (iii) County: LOS ANGELES

8. [ { ]          I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

                    or
9.   D              I am a California sheriff or marshal and I certify that the foregoing is true and correct.

Date:      February 22, 2019

                          V ARTAN DEMJRJY AN
             (NAME OF PERSON WH O SERVED PAPERS/SHERIFF OR MARSHAL)                                              (SIGNATURE )




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                                                           PROOF OF SERVICE OF SUMMONS
